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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 21-cr-108 (PAM/TNL) (3)


UNITED STATES OF AMERICA,                )
                                         )
                            Plaintiff,   )    DEFENDANT KUENG’S MOTION TO
vs.                                      )         AMEND PRE-SENTENCE
                                         )        INVESTIGATION REPORT
J. ALEXANDER KUENG,                      )
                                         )
                                         )
                           Defendant.    )
                                         )



      Mr. Kueng respectfully asks this Court to amend the presentence

investigation report. (Docket 345) In support of this motion Mr. Kueng relies on

the argument and points made in his position on sentencing. (Docket 380)



                                             Respectfully submitted,

                                             /s/ Thomas C. Plunkett
Dated:    June 29, 2022
                                             Thomas C. Plunkett
                                             Attorney No. 260162
                                             Attorney for Defendant
                                             101 East Fifth Street
                                             Suite 1500
                                             St. Paul, MN 55101
                                             Phone: (651) 222-4357
